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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                              )
In re:                                        )   Chapter 11
                                              )
PHONE TRENDS, INC.,                           )   Case No. 20-22475 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
FRONTIER COMMUNICATIONS                       )   Case No. 20-22476 (RDD)
CORPORATION,                                  )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS CAPITAL VENTURES CORP.,              )   Case No. 20-22477 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )




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                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS DIRECTORY SERVICES                   )   Case No. 20-22478 (RDD)
COMPANY L.L.C.,                               )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS LOUISIANA ACCOUNTING                 )   Case No. 20-22479 (RDD)
COMPANY,                                      )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS NEWCOM COMPANY,                      )   Case No. 20-22480 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS NEWTEL, LLC,                         )   Case No. 20-22486 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS PENNSYLVANIA COMPANY                 )   Case No. 20-22493 (RDD)
LLC,                                          )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )




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                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS SERP ADMINISTRATION                  )   Case No. 20-22497 (RDD)
COMPANY,                                      )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOM SERVICES                     )   Case No. 20-22501 (RDD)
COMPANY L.L.C.,                               )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22508 (RDD)
COMPANY OF CALIFORNIA INC.,                   )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22510 (RDD)
COMPANY OF IDAHO,                             )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22514 (RDD)
COMPANY OF ILLINOIS,                          )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )



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                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22519 (RDD)
COMPANY OF MINNESOTA, LLC,                    )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22523 (RDD)
COMPANY OF MONTANA,                           )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22528 (RDD)
COMPANY OF NEBRASKA,                          )
                                              )
                     Debtor.                  )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22532 (RDD)
COMPANY OF NEBRASKA LLC,                      )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS OF                )   Case No. 20-22539 (RDD)
NEVADA,                                       )
                                              )
                     Debtor.                  )
Tax I.D. No. XX-XXXXXXX                       )




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                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22544 (RDD)
COMPANY OF NEW YORK, INC.,                    )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22547 (RDD)
COMPANY OF OREGON,                            )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22553 (RDD)
COMPANY OF TENNESSEE L.L.C.,                  )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22481 (RDD)
COMPANY OF THE WHITE MOUNTAINS,               )
INC.,                                         )
                Debtor.                       )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22487 (RDD)
COMPANY OF UTAH,                              )
                                              )
                    Debtor.                   )
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Tax I.D. No. XX-XXXXXXX                       )



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                                              )
In re:                                        )   Chapter 11
                                              )
CITIZENS TELECOMMUNICATIONS                   )   Case No. 20-22492 (RDD)
COMPANY OF WEST VIRGINIA,                     )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
CITIZENS UTILITIES CAPITAL L.P.,              )   Case No. 20-22496 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
CITIZENS UTILITIES RURAL COMPANY,             )   Case No. 20-22502 (RDD)
INC.,                                         )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
COMMONWEALTH COMMUNICATION,                   )   Case No. 20-22504 (RDD)
LLC,                                          )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
COMMONWEALTH TELEPHONE                        )   Case No. 20-22512 (RDD)
COMPANY LLC,                                  )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )




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                                              )
In re:                                        )   Chapter 11
                                              )
COMMONWEALTH TELEPHONE                        )   Case No. 20-22516 (RDD)
ENTERPRISES LLC,                              )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
COMMONWEALTH TELEPHONE                        )   Case No. 20-22521 (RDD)
MANAGEMENT SERVICES, INC.,                    )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
CTE HOLDINGS, INC.,                           )   Case No. 20-22526 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
CTE SERVICES, INC.,                           )   Case No. 20-22531 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
CTE TELECOM, LLC,                             )   Case No. 20-22536 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )




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                                              )
In re:                                        )   Chapter 11
                                              )
CTSI, LLC,                                    )   Case No. 20-22541 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
CU CAPITAL LLC,                               )   Case No. 20-22546 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
CU WIRELESS COMPANY LLC,                      )   Case No. 20-22552 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
ELECTRIC LIGHTWAVE NY, LLC,                   )   Case No. 20-22557 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
EVANS TELEPHONE HOLDINGS, INC.,               )   Case No. 20-22562 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )




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                                              )
In re:                                        )   Chapter 11
                                              )
FAIRMOUNT CELLULAR LLC,                       )   Case No. 20-22566 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
FRONTIER ABC LLC,                             )   Case No. 20-22570 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )   Chapter 11
                                              )
FRONTIER CALIFORNIA INC.,                     )   Case No. 20-22573 (RDD)
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
FRONTIER COMMUNICATIONS                       )   Case No. 20-22574 (RDD)
- MIDLAND, INC.,                              )
                                              )
                    Debtor.                   )
                                              )
Tax I.D. No. XX-XXXXXXX                       )
                                              )
In re:                                        )   Chapter 11
                                              )
FRONTIER COMMUNICATIONS                       )   Case No. 20-22569 (RDD)
- PRAIRIE, INC.,                              )
                 Debtor.                      )
                                              )
Tax I.D. No. XX-XXXXXXX                       )




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                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22483 (RDD)
- SCHUYLER, INC.,                              )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22488 (RDD)
CORPORATE SERVICES INC.,                       )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS ILEC                   )   Case No. 20-22495 (RDD)
HOLDINGS LLC,                                  )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22500 (RDD)
NORTHWEST INC.,                                )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS OF                     )   Case No. 20-22506 (RDD)
AMERICA, INC.,                                 )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )



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                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS OF                     )   Case No. 20-22511 (RDD)
AUSABLE VALLEY, INC.,                          )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22517 (RDD)
OF BREEZEWOOD, LLC,                            )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22520 (RDD)
OF CANTON, LLC,                                )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22525 (RDD)
OF DELAWARE, INC.,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22529 (RDD)
OF DEPUE, INC.,                                )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )



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                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22534 (RDD)
OF GEORGIA LLC,                                )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22538 (RDD)
OF ILLINOIS, INC.,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22543 (RDD)
OF INDIANA, LLC,                               )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22545 (RDD)
OF IOWA, LLC,                                  )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22550 (RDD)
OF LAKESIDE, INC.,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )



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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22554 (RDD)
OF LAKEWOOD, LLC,                              )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22558 (RDD)
OF MICHIGAN, INC.,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22561 (RDD)
OF MINNESOTA, INC.,                            )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22564 (RDD)
OF MISSISSIPPI LLC,                            )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22567 (RDD)
OF MT. PULASKI, INC.,                          )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )



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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22571 (RDD)
OF NEW YORK, INC.,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22572 (RDD)
OF ORION, INC.,                                )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS OF                     )   Case No. 20-22482 (RDD)
OSWAYO RIVER LLC,                              )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS OF                     )   Case No. 20-22485 (RDD)
PENNSYLVANIA, LLC,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22489 (RDD)
OF ROCHESTER, INC.,                            )
                                               )
                    Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                        )



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In re:                                         )   Chapter 11
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FRONTIER COMMUNICATIONS                        )   Case No. 20-22491 (RDD)
OF SENECA-GORHAM, INC.,                        )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22494 (RDD)
OF SYLVAN LAKE, INC.,                          )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22498 (RDD)
OF THE CAROLINAS LLC,                          )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22503 (RDD)
OF THE SOUTH, LLC,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22505 (RDD)
OF THE SOUTHWEST INC.,                         )
                                               )
                    Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                        )



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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22509 (RDD)
OF THORNTOWN, LLC,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22513 (RDD)
OF VIRGINIA, INC.,                             )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22518 (RDD)
OF WISCONSIN LLC,                              )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22522 (RDD)
ONLINE AND LONG DISTANCE INC.,                 )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER COMMUNICATIONS                        )   Case No. 20-22527 (RDD)
SERVICES INC.,                                 )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )



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                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER DIRECTORY SERVICES                    )   Case No. 20-22533 (RDD)
COMPANY, LLC,                                  )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER FLORIDA LLC,                          )   Case No. 20-22537 (RDD)
                                               )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER INFOSERVICES INC.,                    )   Case No. 20-22540 (RDD)
                                               )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER MIDSTATES INC.,                       )   Case No. 20-22549 (RDD)
                                               )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
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In re:                                         )   Chapter 11
                                               )
FRONTIER MOBILE LLC,                           )   Case No. 20-22551 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )




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                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER NORTH INC.,                           )   Case No. 20-22556 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER SECURITY COMPANY,                     )   Case No. 20-22560 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER SERVICES CORP.,                       )   Case No. 20-22563 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER SOUTHWEST                             )   Case No. 20-22484 (RDD)
INCORPORATED,                                  )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER SUBSIDIARY TELCO LLC,                 )   Case No. 20-22490 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )




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                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER TECHSERV, INC.,                       )   Case No. 20-22499 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER TELEPHONE OF                          )   Case No. 20-22507 (RDD)
ROCHESTER, INC.,                               )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER VIDEO SERVICES INC.,                  )   Case No. 20-22515 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
FRONTIER WEST VIRGINIA INC.,                   )   Case No. 20-22524 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
GVN SERVICES,                                  )   Case No. 20-22530 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )




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                                               )
In re:                                         )   Chapter 11
                                               )
N C C SYSTEMS, INC.,                           )   Case No. 20-22535 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
NAVAJO COMMUNICATIONS CO., INC.,               )   Case No. 20-22542 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
NEWCO WEST HOLDINGS LLC                        )   Case No. 20-22548 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
OGDEN TELEPHONE COMPANY                        )   Case No. 20-22555 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
RHINELANDER                                    )   Case No. 20-22559 (RDD)
TELECOMMUNICATIONS, LLC                        )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )




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                                               )
In re:                                         )   Chapter 11
                                               )
RIB LAKE CELLULAR FOR                          )   Case No. 20-22565 (RDD)
WISCONSIN RSA #3, INC.                         )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
RIB LAKE TELECOM, INC.                         )   Case No. 20-22568 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
SNET AMERICA, INC.                             )   Case No. 20-22578 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
TCI TECHNOLOGY & EQUIPMENT LLC                 )   Case No. 20-22575 (RDD)
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )
                                               )
In re:                                         )   Chapter 11
                                               )
THE SOUTHERN NEW ENGLAND                       )   Case No. 20-22576 (RDD)
TELEPHONE COMPANY                              )
                                               )
                    Debtor.                    )
                                               )
Tax I.D. No. XX-XXXXXXX                        )




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                                                              )
In re:                                                        ) Chapter 11
                                                              )
TOTAL COMMUNICATIONS, INC.                                    ) Case No. 20-22577 (RDD)
                                                              )
                            Debtor.                           )
                                                              )
Tax I.D. No. XX-XXXXXXX                                       )

         ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

          Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in possession

(collectively, “the Debtors”) for entry of an order (this “Order”), directing the joint administration

of the Debtors’ chapter 11 cases for procedural purposes only, all as more fully set forth in the

Motion; and upon the First Day Declaration; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended Standing Order of Reference

from the United States District Court for the Southern District of New York, dated January 31,

2012; and this Court having found that venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing

thereon were appropriate under the circumstances and that no other notice or hearing is required;

and upon the record of the hearing held by the Court on April 16, 2020 and all of the proceedings

herein; and, after due deliberation the Court having determined that the legal and factual bases set

forth in the Motion and at the hearing establish good and sufficient cause for the relief granted

herein, it is HEREBY ORDERED THAT:

          1.       The Motion is granted as set forth herein.

          2.       The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by this Court under Case No. 20-22476 (RDD).



1
      Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.


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              3.     The caption of the jointly administered cases should read as follows:

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

                                                                    )
     In re:                                                         )   Chapter 11
                                                                    )
     FRONTIER COMMUNICATIONS                                        )   Case No. 20-22476 (RDD)
     CORPORATION, et al.,1                                          )
                                                                    )
                                          Debtors.                  )   (Jointly Administered)
                                                                    )
1
     The last four digits of Debtor Frontier Communications Corporation’s tax identification number are 9596. Due to
     the large number of debtor entities in these chapter 11 cases, for which joint administration has been granted, a
     complete list of the debtor entities and the last four digits of their federal tax identification numbers are not provided
     herein. A complete list of such information may be obtained on the website of the Debtors’ proposed claims and
     noticing agent at https://cases.primeclerk.com/ftr. The location of the Debtors’ service address for purposes of these
     chapter 11 cases is: 50 Main Street, Suite 1000, White Plains, New York 10606.

              4.     The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

    the Bankruptcy Code.

              5.     A docket entry, substantially similar to the following, shall be entered on the docket

    of each of the Debtors, other than Frontier Communications Corporation, to reflect the joint

    administration of these chapter 11 cases:

                     An order has been entered in accordance with rule 1015(b) of the
                     Federal Rules of Bankruptcy Procedure directing the joint
                     administration of the chapter 11 cases of: Phone Trends, Inc.,
                     No. 20-22475 (RDD); Frontier Communications Corporation,
                     No. 20-22476 (RDD); Citizens Capital Ventures Corp., No. 20-
                     22477 (RDD); Citizens Directory Services Company L.L.C.,
                     No. 20-22478 (RDD); Citizens Louisiana Accounting Company,
                     No. 20-22479 (RDD); Citizens Newcom Company, No. 20-22480
                     (RDD); Citizens Newtel, LLC, No. 20-22486 (RDD); Citizens
                     Pennsylvania Company LLC, No. 20-22493 (RDD); Citizens SERP
                     Administration Company, No. 20-22497 (RDD); Citizens Telecom
                     Services Company L.L.C., No. 20-22501 (RDD); Citizens
                     Telecommunications Company of California Inc., No. 20-22508
                     (RDD); Citizens Telecommunications Company of Idaho, No. 20-
                     22510 (RDD); Citizens Telecommunications Company of Illinois,
                     No. 20-22514 (RDD); Citizens Telecommunications Company of
                     Minnesota,      LLC,     No. 20-22519      (RDD);       Citizens

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           Telecommunications Company of Montana, No. 20-22523 (RDD);
           Citizens Telecommunications Company of Nebraska, No. 20-22528
           (RDD); Citizens Telecommunications Company of Nebraska LLC,
           No. 20-22532 (RDD); Citizens Telecommunications Company of
           Nevada, No. 20-22539 (RDD); Citizens Telecommunications
           Company of New York, Inc., No. 20-22544 (RDD); Citizens
           Telecommunications Company of Oregon, No. 20-22547 (RDD);
           Citizens Telecommunications Company of Tennessee L.L.C.,
           No. 20-22553 (RDD); Citizens Telecommunications Company of
           the White Mountains, Inc., No. 20-22481 (RDD); Citizens
           Telecommunications Company of Utah, No. 20-22487 (RDD);
           Citizens Telecommunications Company of West Virginia, No. 20-
           22492 (RDD); Citizens Utilities Capital L.P., No. 20-22496 (RDD);
           Citizens Utilities Rural Company, Inc., No. 20-22502 (RDD);
           Commonwealth Communication, LLC, No. 20-22504 (RDD);
           Commonwealth Telephone Company LLC, No. 20-22512 (RDD);
           Commonwealth Telephone Enterprises LLC, No. 20-22516 (RDD);
           Commonwealth Telephone Management Services, Inc., No. 20-
           22521 (RDD); CTE Holdings, Inc., No. 20-22526 (RDD); CTE
           Services, Inc., No. 20-22531 (RDD); CTE Telecom, LLC, No. 20-
           22536 (RDD); CTSI, LLC, No. 20-22541 (RDD); CU Capital LLC,
           No. 20-22546 (RDD); CU Wireless Company LLC, No. 20-22552
           (RDD); Electric Lightwave NY, LLC, No. 20-22557 (RDD); Evans
           Telephone Holdings, Inc., No. 20-22562 (RDD); Fairmount
           Cellular LLC, No. 20-22566 (RDD); Frontier ABC LLC, No. 20-
           22570 (RDD); Frontier California Inc., No. 20-22573 (RDD);
           Frontier Communications - Midland, Inc., No. 20-22574 (RDD);
           Frontier Communications - Prairie, Inc., No. 20-22569 (RDD);
           Frontier Communications - Schuyler, Inc., No. 20-22483 (RDD);
           Frontier Communications Corporate Services Inc., No. 20-22488
           (RDD); Frontier Communications ILEC Holdings LLC, No. 20-
           22495 (RDD); Frontier Communications Northwest Inc., No. 20-
           22500 (RDD); Frontier Communications of America, Inc., No. 20-
           22506 (RDD); Frontier Communications of Ausable Valley, Inc.,
           No. 20-22511 (RDD); Frontier Communications of Breezewood,
           LLC, No. 20-22517 (RDD); Frontier Communications of Canton,
           LLC, No. 20-22520 (RDD); Frontier Communications of Delaware,
           Inc., No. 20-22525 (RDD); Frontier Communications of Depue,
           Inc., No. 20-22529 (RDD); Frontier Communications of Georgia
           LLC, No. 20-22534 (RDD); Frontier Communications of Illinois,
           Inc., No. 20-22538 (RDD); Frontier Communications of Indiana,
           LLC, No. 20-22543 (RDD); Frontier Communications of Iowa,
           LLC, No. 20-22545 (RDD); Frontier Communications of Lakeside,
           Inc., No. 20-22550 (RDD); Frontier Communications of Lakewood,
           LLC, No. 20-22554 (RDD); Frontier Communications of Michigan,
           Inc., No. 20-22558 (RDD); Frontier Communications of Minnesota,


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           Inc., No. 20-22561 (RDD); Frontier Communications of Mississippi
           LLC, No. 20-22564 (RDD); Frontier Communications of Mt.
           Pulaski, Inc., No. 20-22567 (RDD); Frontier Communications of
           New York, Inc., No. 20-22571 (RDD); Frontier Communications of
           Orion, Inc., No. 20-22572 (RDD); Frontier Communications of
           Oswayo      River    LLC,     No. 20-22482    (RDD);    Frontier
           Communications of Pennsylvania, LLC, No. 20-22485 (RDD);
           Frontier Communications of Rochester, Inc., No. 20-22489 (RDD);
           Frontier Communications of Seneca-Gorham, Inc., No. 20-22491
           (RDD); Frontier Communications of Sylvan Lake, Inc., No. 20-
           22494 (RDD); Frontier Communications of the Carolinas LLC,
           No. 20-22498 (RDD); Frontier Communications of the South, LLC,
           No. 20-22503 (RDD); Frontier Communications of the Southwest
           Inc., No. 20-22505 (RDD); Frontier Communications of
           Thorntown, LLC, No. 20-22509 (RDD); Frontier Communications
           of Virginia, Inc., No. 20-22513 (RDD); Frontier Communications
           of Wisconsin LLC, No. 20-22518 (RDD); Frontier Communications
           Online and Long Distance Inc., No. 20-22522 (RDD); Frontier
           Communications Services Inc., No. 20-22527 (RDD); Frontier
           Directory Services Company, LLC, No. 20-22533 (RDD); Frontier
           Florida LLC, No. 20-22537 (RDD); Frontier Infoservices Inc.,
           No. 20-22540 (RDD); Frontier Midstates Inc., No. 20-22549
           (RDD); Frontier Mobile LLC, No. 20-22551 (RDD); Frontier North
           Inc., No. 20-22556 (RDD); Frontier Security Company, No. 20-
           22560 (RDD); Frontier Services Corp., No. 20-22563 (RDD);
           Frontier Southwest Incorporated, No. 20-22484 (RDD); Frontier
           Subsidiary Telco LLC, No. 20-22490 (RDD); Frontier Techserv,
           Inc., No. 20-22499 (RDD); Frontier Telephone of Rochester, Inc.,
           No. 20-22507 (RDD); Frontier Video Services Inc., No. 20-22515
           (RDD); Frontier West Virginia Inc., No. 20-22524 (RDD); GVN
           Services, No. 20-22530 (RDD); N C C Systems, Inc., No. 20-22535
           (RDD); Navajo Communications Co., Inc., No. 20-22542 (RDD);
           Newco West Holdings LLC, No. 20-22548 (RDD); Ogden
           Telephone Company, No. 20-22555 (RDD); Rhinelander
           Telecommunications, LLC, No. 20-22559 (RDD); Rib Lake
           Cellular for Wisconsin RSA #3, Inc., No. 20-22565 (RDD); Rib
           Lake Telecom, Inc., No. 20-22568 (RDD); SNET America, Inc.,
           No. 20-22578 (RDD); TCI Technology & Equipment LLC, No. 20-
           22575 (RDD); The Southern New England Telephone Company,
           No. 20-22576 (RDD); Total Communications, Inc., No. 20-22577
           (RDD). All further pleadings and other papers shall be filed in
           and all further docket entries shall be made in
           Case No. 20-22476 (RDD).




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       6.      The Debtors shall maintain, and the Clerk of the Court shall keep, with the

assistance of the notice and claims agent retained by the Debtors in these chapter 11 cases, one

consolidated docket, one file, and one consolidated service list.

       7.      The Debtors may file their monthly operating reports required by the Operating

Guidelines and Reporting Requirements for Debtors in Possession and Trustees, issued by the

U.S. Trustee, by consolidating the information required for each debtor in one report that tracks

and breaks out all of the specific information (e.g., receipts, disbursements, etc.) on a

debtor-by-debtor basis in each monthly operating report.

       8.      Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases, and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       10.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such motion, and the requirements of the Bankruptcy Code, Bankruptcy Rules, and Local Rules

of this Court are satisfied by such notice.

       11.     Notwithstanding anything to the contrary, the terms and conditions of this Order

are immediately effective and enforceable upon its entry.




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       12.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated: White Plains, New York
        April 17, 2020
                                               /s/ Robert D. Drain
                                               THE HONORABLE ROBERT D. DRAIN
                                               UNITED STATES BANKRUPTCY JUDGE




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